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                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                                January 25, 2023
                     FOR THE SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IN RE:                                          §
                                                §       CASE NO: 22-90035
HONX, INC.,                                     §
                                                §
         Debtor.                                §
                                                §
                                                §       CHAPTER 11

                                            ORDER

      The Court is extraordinarily concerned about the allegations and implications of the
Emergency Motion to Compel filed at ECF No. 641. The Court orders:

      1. Not later than 2:00 p.m. on January 25, 2023, Burns Charest must file its certification
         that (a) it has fully complied with the Court’s order compelling it immediately to
         produce documents, rendered on the record on January 13, 2023; or (b) it has not fully
         complied with the Court’s order compelling it immediately to produce documents,
         rendered on the record on January 13, 2023.

      2. If Burns Charest either (i) fails to file the certification for any reason; or (ii) files a
         certification under paragraph 1(b), it must pay a daily coercive sanction of $10,000.00
         on or before 2:00 p.m. into the Court’s registry and file proof of such payment by 2:00
         p.m.

      3. Additional daily coercive sanctions are imposed on a daily basis and must be paid into
         the Court’s registry not later than 2:00 p.m. on each day until the certification required
         by paragraph 1(a) has been filed. The amount of the sanctions, pending the filing of a
         certificate as required by paragraph 1, will increase by 50% on a daily basis for each
         day of non-compliance (exclusive of Saturdays, Sundays and Federal Holidays, when
         no coercive sanction will be payable); provided, the maximum daily sanction will be
         capped at $150,000.00. By way of example, if there is non-compliance on Friday,
         January 27, 2023, the daily sanction is $22,500.00.

      4. Glaston Quashie is ordered to appear at a deposition at 9:00 a.m. on February 3, 2023
         at the location designated in the subpoena filed at ECF 641-1.

      5. The deposition will be conducted in accordance with Federal Rule of Bankruptcy
         Procedure 7030, including without limitation the provisions of Fed. R. Civ. P. 30(c)(2),
         which is incorporated into Rule 7030. Counsel are specifically ordered that they may
         not make speaking objections during the course of the deposition, may not confer with
         their client during the course of the deposition, may not instruct the client not to answer

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        questions except as authorized by Rule 30, and may not make comments or statements
        during the course of the deposition.

      SIGNED 01/25/2023


                                              ___________________________________
                                                            Marvin Isgur
                                                   United States Bankruptcy Judge




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